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                       EXHIBIT 1
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                           UNITED STATBS DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



ARTHUR M. LOVE.

       Plaintiff,

                 v.                          Case   No. l:21-cv-2029 (RDB)
                                             Judge Richard D. Bennett
LARRY HOGAN, et al.,

       Defendants.




                  CERTIFICATION PURSUANT TO LOCAL RULE 101.2.(a)

       Undersigned counsel hereby certifies, pursuant to Local Rule I 01.2.(a), that the name and

last known mailing address of Plaintiff is

       Arthur M. Love
       2064Lake Grove Lane
       Crofton, MD 2\114.

       Undersigned counsel further certifies that, by letter dated November 17,2021,

undersigned counsel advised Plaintiff that, if his primary counsel, John M. Pierce, had not

substituted in new local counsel by November 29,2021, undersigned counsel would advise the

Clerk of this Court that Plaintiff would be proceeding without admitted local counsel.

Undersigned counsel now advises the Clerk that Plaintiff will be proceeding without admitted

local counsel.




       Executed on December 1,2021.




                                                                     dward McFadden
